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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE
                                  Electronically Filed


UNITED STATES OF AMERICA                                                             PLAINTIFF


v.                                                         CASE NO: 3:16-cr-40-DJH


JOHN TREUFELDT                                                                      DEFENDANT

                                              ORDER



       Motion having been made and the Court having been advised;

       IT IS HEREBY ORDERED that the Defendant’s Motion for Release to Travel IS

GRANTED. The Defendant will wear his GPS monitoring device, travel with another

responsible adult, provide US Pretrial Officer Clements with his travel itinerary with check-ins

and will not have access to or use of digital devices with internet capabilities.



       SO ORDERED
